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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division

 UNITED STATES OF AMERICA

               v.
                                                     No. 1:18-cr-457-AJT-1
 BIJAN RAFIEKIAN,

               Defendant.



                                    NOTICE OF APPEAL

       The United States hereby appeals from the order granting defendant’s renewed motion for

a new trial, which was entered by the Court on March 25, 2022 (see Dkt. 412), and from all prior

rulings and orders of the Court in this case, to the United States Court of Appeals for the Fourth

Circuit.

                                       Respectfully submitted,

                                       JESSICA D. ABER
                                       UNITED STATES ATTORNEY

                /s/                  By:           /s/
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 18, 2022, I electronically filed the foregoing using the

CM/ECF system, which will send a notification of such filing to all counsel of record.



                       /s/
                      Aidan Taft Grano-Mickelsen
                      Assistant United States Attorney




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